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                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

In re:                                                      Case No. 8:19-bk-04542-RCT
                                                            Chapter 7
Frank Natiello
Louisa-Anne R. Natiello,

          Debtor(s).
____________________________/

                   TRUSTEE’S LIMITED OBJECTION TO MOTION
              FOR RELIEF FROM AUTOMATIC STAY BY LOANCARE, LLC

         Christine L. Herendeen, the Trustee in the above captioned Chapter 7 case, by and

through her undersigned counsel, files this Limited Objection to Motion for Relief from Stay by

Loancare, LLC (Doc. No. 18) and states as follows:

         1.     On May 14, 2019, the Debtors filed a Chapter 7 Petition, and Christine L.

Herendeen was appointed as Trustee.

         2.     On July 19, 2019, Loancare, LLC (the “Secured Creditor”) filed a Motion for

Relief from the Automatic Stay.

         3.     The Debtors listed the real property at 8 Sandy Hill Road, Hamburg, NJ

07419 on Schedule A with a current value of $182,700.00 and a first mortgage of $113,932.00.

According to Zillow.com, the value of the property is $214,105.00. A copy of the Zillow value is

attached hereto as Exhibit “A” and incorporated herein by reference.

         4.     Due to the equity above the first mortgage, the Trustee intends to sell the property;

moreover, the equity cushion provides the Secured Creditor with adequate protection. The

Trustee intends to employ a real estate broker who has reviewed the property and believes there

is sufficient equity to sell the property, to pay the first mortgage creditor and closing costs in full,
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and to provide funds for distribution by the estate to the under secured second mortgage creditor

and the general unsecured creditors.

       5.      The Trustee would request that Loancare, LLC be directed to communicate with

her, providing payoff information and communicating with her generally, as necessary to

administer and sell the real property. The motion filed by Loancare, LLC sets forth the unpaid

principal balance; however, it does not provide payoff information.

       WHEREFORE, the Trustee requests the entry of an Order Denying the Motion for Relief

from the Automatic Stay, or in the alternative, abating the motion to allow her and opportunity to

market and sell the real property, directing Loancare, LLC to communicate with the Trustee, and

for any other relief this Court deems appropriate

                                       Respectfully submitted,
                                       /s/ Christine L Herendeen
                                       Christine L. Herendeen
                                       Florida Bar No. 0094315
                                       Herrendeen Law, LLC
                                       P.O. Box 152348
                                       Tampa, FL 33684
                                       (813) 438-3833
                                       Attorney for Chapter 7 Trustee

                                CERTIFICATE OF SERVICE

       I CERTIFY that on September 5, 2019 a true and correct copy of the foregoing
was served by electronic delivery or U.S. Mail to the following:

   Office of the United States Trustee, 501 E. Polk Street, Suite 1200, Tampa, FL 33602

   Frank and Louisa-Anne Natiello, 8027 Sealawn Dr, Spring Hill, FL 34606

   Sandra H Day, The Day Law Office, 4108 Deltona Blvd., Spring Hill, FL 34606

   Stefan Beuge, Esq., Phelan Hallinan Diamond& Jines, PLLC, Attorney for Loancare, LLC,
   2001 NW 64th Street, Suite 100, Ft Lauderdale, FL 33309

                                       /s/ Christine L Herendeen
                                       Christine L. Herendeen, Trustee
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                   EXHIBIT “A”
